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                             UNITED STATES DISTRICT COURT
                              MIDDLE DISTRICT OF FLORIDA
                                    TAMPA DIVISION

TRESSIE CERTAIN,

               Petitioner,

v.                                                             Case No. 8:10-cv-629-T-24-TGW
                                                                        8:08-cr-399-T-24-TGW

UNITED STATES OF AMERICA,

            Defendant.
___________________________________/

                                             ORDER

       This cause comes before the Court on Petitioner’s motion to vacate, set aside, or correct

an allegedly illegal sentence pursuant to 28 U.S.C. § 2255. Petitioner filed this motion on March

12, 2010. (Doc. No. 1). The Court directed the Government to file a response (Doc. No. 3),

which the Government did on July 1, 2010. (Doc. No. 6). The Court appointed Petitioner

counsel and set the matter for an evidentiary hearing on September 10, 2010 at 8:30 a.m.

       At the hearing on September 10, 2010, Petitioner withdrew his motion to vacate, set

aside, or correct an allegedly illegal sentence pursuant to 28 U.S.C. § 2255. Accordingly, it is

ORDERED AND ADJUDGED that the Court DISMISSES Petitioner’s motion to vacate, set

aside, or correct an allegedly illegal sentence pursuant to 28 U.S.C. § 2255.

       The Court also recommends that Petitioner be transferred to the Federal Correctional

Institution in Jesup, Georgia.

       DONE AND ORDERED at Tampa, Florida, this 10thday of September, 2010.

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Copies to:
Counsel of Record




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